                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


MEMPHIS A. PHILLIP RANDOLPH
INSTITUTE, et al.

               Plaintiffs,
                                                Civil No. 3:20-cv-0374
                                                JUDGE RICHARDSON
v.
                                                MAGISTRATE JUDGE FRENSLEY
TRE HARGETT, et al.

               Defendants.


                        MOTION FOR PRELIMINARY INJUNCTION

        PLEASE TAKE NOTICE that, upon the annexed Declarations of Ravi Doshi; Dr.

Arthur L. Reingold; Dr. Linton A. Mohammed, Gloria Sweet-Love, on behalf of the Tennessee

State Conference of the NAACP; Jeffrey Lichtenstein, on behalf of the Memphis Central Labor

Council; Kendra Lee, on behalf of the Memphis A. Philip Randolph Institute; Charlane Oliver, on

behalf of The Equity Alliance; and Dawn Harrington, on behalf of Free Hearts, the exhibits

attached thereto, the accompanying Memorandum of Law, and all other pleadings and

proceedings in this action, Plaintiffs Memphis A. Phillip Randolph Institute (“APRI”), The

Equity Alliance (“Equity Alliance”), Free Hearts, The Memphis and West Tennessee AFL-CIO

Central Labor Council a/k/a the Memphis Central Labor Council (“MCLC”), and The Tennessee

State Conference of the NAACP (“Tennessee NAACP”) (together, the “Organizational

Plaintiffs”), together with Plaintiffs Sekou Franklin and Kendra Lee, (collectively, “Plaintiffs”),

by and through their undersigned counsel, will, as soon as counsel may be heard, move this Court

before the Honorable United States District Judge Eli Richardson for an Order preliminarily

enjoining Defendants Tre Hargett, Mark Goins, and Amy Weirich, and granting the relief set forth




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in Plaintiffs’ accompanying proposed order and such other and further relief that the Court deems

just and proper.

        As set forth in detail in the Memorandum of Law, Plaintiffs are likely to succeed on the

merits of each of their moved-on claims and will suffer irreparable harm absent relief. The

balance of the equities moreover favors Plaintiffs. For these reasons, Plaintiffs are entitled to a

preliminary injunction and request that the Court enter the proposed order submitted herewith.

        Prior to the filing of this Motion, in accordance with Local Rule 7.01(a)(1), Plaintiffs’

counsel advised Defendants’ counsel of their intention to move for a preliminary injunction.

Defendants’ counsel indicated that they would oppose the Motion and requested relief.

Dated: June 12th, 2020                  Respectfully submitted,

                                                   /s William L. Harbison      .
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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY, pursuant to Local Rule 5.01, that on this 12th day of June, 2020, the
foregoing was served via the Court’s CM/ECF filing system and by electronic mail on the following:

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Counsel for Defendants



                                                                 /s William L. Harbison




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